                                  Case 20-12399-BLS                 Doc 1        Filed 09/24/20           Page 1 of 22



Fill in this information to identify your case:


United States Bankruptcy Court for the:

District of Delaware

Case number (if known)                                                     Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Impresa Holdings Acquisition Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification        Venture Aircraft Company LLC
                                    XX-XXXXXXX
     Number (EIN)




4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business



                                   344 W. 157th St., Gardena, CA 90248
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                   Los Angeles County                                            Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)        www.impresaaerospace.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                       Case 20-12399-BLS                 Doc 1         Filed 09/24/20              Page 2 of 22
Debtor                                                                                                  Case number (if known)
           Impresa Holdings Acquisition Corporation
          Name



7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              3364

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
                                            Chapter 9

     A debtor who is a “small               Chapter 11. Check all that apply:
     business debtor” must check                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who
                                                                  $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                      operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second sub-                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     box.                                                         proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See attached Schedule 1                                         Relationship            Affiliate
                                                  District   Delaware                      When                              Case number, if known


Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 2
                                Case 20-12399-BLS                     Doc 1       Filed 09/24/20               Page 3 of 22
Debtor                                                                                           Case number (if known)
          Impresa Holdings Acquisition Corporation
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?

                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 20-12399-BLS                   Doc 1        Filed 09/24/20             Page 4 of 22
Debtor                                                                                             Case number (if known)
          Impresa Holdings Acquisition Corporation
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      09/24/2020
                                                  MM / DD / YYYY


                             X    /s/ Steven F. Loye                                                      Steven F. Loye
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Matthew B. Harvey                                                     Date 09/24/2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                  Matthew B. Harvey
                                 Printed name

                                 Morris, Nichols, Arsht & Tunnell LLP
                                 Firm name

                                 1201 North Market Street, Wilmington, DE 19801-1347
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (302) 658-9200               Email address       mharvey@mnat.com

                                     5186          DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
               Case 20-12399-BLS          Doc 1     Filed 09/24/20      Page 5 of 22




                                            Schedule 1

             Pending or Current Bankruptcy Cases Filed by Affiliates
       On September 24, 2020, each of the affiliated entities listed below (including the debtor in
this chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in
the United States Bankruptcy Court for the District of Delaware. A motion has been filed with the
Court requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

                                                    Federal Employer Identification Number
 Entity Name
                                                    (EIN)
 Impresa Holdings Acquisition Corporation           XX-XXXXXXX
 Impresa Acquisition Corporation                    XX-XXXXXXX
 Impresa Aerospace, LLC                             XX-XXXXXXX
 Goose Creek, LLC Corporation                       XX-XXXXXXX
               Case 20-12399-BLS        Doc 1    Filed 09/24/20     Page 6 of 22




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re                                               Chapter 11

IMPRESA HOLDINGS ACQUISITION                        Case No. 20-_____ (___)
CORPORATION, et al.,
                                                    Joint Administration Requested
                      Debtors.1


              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                   AND LIST OF EQUITY SECURITY HOLDERS

               Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of

Bankruptcy Procedure and rule 1007-1 of the Local Rules for the United States Bankruptcy

Court for the District of Delaware, the above-captioned debtors and debtors in possession hereby

state as follows:

              Debtors Impresa Aerospace, LLC, and Goose Creek, LLC, are 100% owned by

               debtor Impresa Acquisition Corporation (“IAC”).

              IAC is 100% owned by debtor Impresa Holdings Acquisition Corporation

               (“IHAC”).

              Twin Haven Special Opportunities Fund IV, L.P. owns 88.9% of IHAC.

              Impresa Aerospace Holdings LLC owns 2.8% of IHAC.

              HPEP II Venture Holdings Inc. owns 4.1% of IHAC.

              HSBC Equity Partners USA, L.P. owns 4.1% of IHAC.

              Hugh Quigley, an individual, owns .1% of IHAC.

1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal EIN,
        are as follows: Impresa Holdings Acquisition Corporation (5982); Impresa Acquisition
        Corporation (6088); Impresa Aerospace, LLC (1706); and Goose Creek, LLC (5777).
        The Debtors’ mailing address is 344 W 157th St, Gardena, CA 90248.
                                     Case 20-12399-BLS                  Doc 1           Filed 09/24/20          Page 7 of 22


      Fill in this information to identify the case:

      Debtor name     Impresa Holdings Acquisition Corporation, et al.
      United States Bankruptcy Court for the:                              District of Delaware

      Case number (If known):
                                                                                     (State)
                                                                                                                                                Check if this is an
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and          Nature of the     Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor            claim (for        claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                              example, trade    contingent,     claim amount. If claim is partially secured, fill in
                                                                                      debts, bank       unliquidated,   total claim amount and deduction for value of
                                                                                      loans,            or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

1    Sandra Gutierrez, et al.
     c/o Lawyers for Justice, PC                P: P: 818-587-8423
     Attn: Edwin Aiwazian                       F: 818-265-1021
     410 Arden Ave Suite 203                    E: edwin@calljustice.com
     Glendale, CA 91203                                                                                  Contingent,
                                                                                         Class Action   Unliquidated,                                         Unliquidated
     Sandra Gutierrez, et al.                                                                            & Disputed
     Attn: Anthony J. Orshansky                 P: 310-277-9945
     c/o CounselOne, P.C.                       F: 424-277-3727
     9301 Wilshire Blvd. Suite 650              E: anthony@counselonegroup.com
     Beverly Hills, CA 90210

2    Carpenter Technology Corporation                                                                    Contingent,
                                      P: 800-654-6543
     PO Box 31001-0867                                                                    Trade Debt    Unliquidated,                                         $2,210,357.06
                                      E: csc@cartech.com                                                 & Disputed
     Pasadena, CA 91110-0867


3    VISSER
                                                P: 303-454-1650                                          Contingent,
     Attn: Carrie Daniels
                                                E:                                        Trade Debt    Unliquidated,                                          $641,301.66
     6275 E 39th Avenue                                                                                  & Disputed
                                                carrie.daniels@visserprecision.com
     Denver, CO 80207

4    CNC                                        P: 810-229-2601
                                                                                                         Contingent,
     Attn: P. Murphy                            E:
                                                                                          Trade Debt    Unliquidated,                                          $314,518.75
     10559 Citation Dr. Ste. 204                Pmurphy@sterlingcommercialcredit                         & Disputed
     Brighton, MI 48116                         .com

5    KAMATICS
     Attn: Leona Bevins                         P: 860-243-9704
                                                                                          Trade Debt                                                           $181,000.00
     1330 Blue Hills Ave                        E: Leona.Bevins@kaman.com
     Bloomfiled, CT 06002

6    AMERICAN EXPRESS                           P: 888-257-7775
     BOX 0001                                   F: 772-360-4756                           Trade Debt                                                           $110,726.00
     LOS ANGELES, CA 90096-8000                 E: amexsru@aexp.com


7    BOWMAN
                                                P: 310-639-4343
     2631 East 126th Street                                                               Trade Debt                                                           $101,713.97
                                                E: invoice@bowmanplating.com
     Compton, CA 90222

    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                       page 1
                                 Case 20-12399-BLS                     Doc 1    Filed 09/24/20              Page 8 of 22

                   Impresa Holdings Acquisition Corporation, et al.                             Case number (if known)
    Debtor
                 Name




     Name of creditor and complete          Name, telephone number, and        Nature of the     Indicate if       Amount of unsecured claim
     mailing address, including zip code    email address of creditor          claim (for        claim is          If the claim is fully unsecured, fill in only unsecured
                                            contact                            example, trade    contingent,       claim amount. If claim is partially secured, fill in
                                                                               debts, bank       unliquidated,     total claim amount and deduction for value of
                                                                               loans,            or disputed       collateral or setoff to calculate unsecured claim.
                                                                               professional
                                                                               services, and
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff


8    ASTRO                                 P: 562-923-4344
     11040 Palmer Ave                      E:                                     Trade Debt                                                               $53,794.96
     South Gate, CA 90280-7408             arpayments@astroaluminum.com


9    EPICOR SOFTWARE
                                           P: 888-354-5812
     804 Las Cimas Pkwy, Ste 200                                                  Trade Debt                                                               $28,694.23
                                           E: BusinessOps@epicor.com
     Austin, TX 78746


10 APOLLO METAL SPINNING
                                           P: 562-634-5141
   15315 Illinois Ave                                                             Trade Debt                                                               $22,508.50
                                           E: apollms@aol.com
   Paramount, CA 90723


11 TRI-PROCESS COMPANY
   Attn: Ashlee Nenorta                    P: 323-770-0240
                                                                                  Trade Debt                                                               $21,495.00
   7721 Jefferson St                       E: ashlee.nenorta@valencest.com
   Paramount, CA 90723

12 E.M.E.
                                           P: 310-639-1621
   PO Box 4998                                                                    Trade Debt                                                               $15,150.40
                                           E: emeacct@emeplating.com
   Compton, CA 90224


13 JCR AIRCRAFT DEBURRING
   Attn: Lili                              P: 714-870-4427
                                                                                  Trade Debt                                                               $10,125.00
   221 Foundation Ave                      E: lili@jcrindustries.com
   La Habra, CA 90631

14 BRALCO METALS
   Attn: M. M Guzman                       P: 714-736-4800
                                                                                  Trade Debt                                                               $9,980.03
   15090 Northams Street                   E: mguzman@bralco.com
   La Mirada, CA 90638

15 BOEING DISTRIBUTION KLX                 P: 305-925-2600
   88289 Expedite Way                      E:                                     Trade Debt                                                               $9,122.83
   Chicago, IL 60695-0001                  bcaedimanagement@boeing.com


16 QA LUBRICANTS
   Attn: Rosie                             P: 877-877-6221
                                                                                  Trade Debt                                                               $6,688.00
   12223 Highland Ave, Unit 106-372        E: rosie@qalube.com
   Rancho Cucamonga, CA 91739

17 DT MACHINE
                                           P: 714-528-8384
   1891 E Maraloma Ave                                                            Trade Debt                                                               $4,992.00
                                           E: dtm411@yahoo.com
   Placentia, CA 92870


18 AVIATION EQUIPMENT
                                           P: 310-354-1200
   1571 MacArthur Blvd                                                            Trade Debt                                                               $3,995.65
                                           E: accounting@aveprocessing.com
   Costa Mesa, CA 92626


19 ALL METALS PROCESSING
   Attn: Elaine C.                         P: 714-828-8238
                                                                                  Trade Debt                                                               $3,835.43
   8401 Standustrial Street                E: ElaineC@Amp-oc.com
   Stanton, CA 90680



    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 2
                                  Case 20-12399-BLS                Doc 1         Filed 09/24/20             Page 9 of 22


                    Impresa Holdings Acquisition Corporation, et al.                             Case number (if known)
     Debtor
                  Name




      Name of creditor and complete          Name, telephone number, and        Nature of the     Indicate if       Amount of unsecured claim
      mailing address, including zip code    email address of creditor          claim (for        claim is          If the claim is fully unsecured, fill in only unsecured
                                             contact                            example, trade    contingent,       claim amount. If claim is partially secured, fill in
                                                                                debts, bank       unliquidated,     total claim amount and deduction for value of
                                                                                loans,            or disputed       collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff


20 PRECISION AEROSPACE
                                            P: 909-980-8855
   11155 Jersy Blvd                                                                Trade Debt                                                               $3,781.00
                                            E: apinvoices@pac.cc
   Rancho Cucamonga, CA 91730

21 IVERSON TOOL
   Attn: Gwen                               P: 800-547-4633
                                                                                   Trade Debt                                                               $2,645.15
   1100 Pioneer Way                         E: gwen@iversontool.com
   El Cajon, CA 92020

22 CDW DIRECT
                                            P: 480-270-7361
   PO Box 75723                                                                    Trade Debt                                                               $2,232.49
                                            E: credit@cdw.com
   Chicago, IL 60675-5723


23 R.S. HUGHES
                                            P: 818-686-9111
   10639 Glenoaks Blvd                                                             Trade Debt                                                               $1,993.92
                                            E: losangeles@rshughes.com
   Pacoima, CA 91331


24 ERNEST PACKAGING
                                            P: 323-923-3173
   5777 Smithway Street                                                            Trade Debt                                                               $1,883.96
                                            E: losangelescredit@ernestpkg.com
   Commerce, CA 90040


25 WESTAIR
   Attn: C. Rubio                           P: 714-860-4840
                                                                                   Trade Debt                                                               $1,535.12
   3001 E Miraloma Ave                      E: crubio@westairgases.com
   Anaheim, CA 92806

26 ADEPT FASTENERS
                                            P: 661-257-6600
   PO Box 579                                                                      Trade Debt                                                               $1,125.00
                                            E: AR@Adeptfasteners.com
   Santa Clarita, CA 91310

27 KAISER ALUMINUM
                                            P: 949-614-1778
   PO Box 100203                                                                   Trade Debt                                                               $1,055.55
                                            E: creditdept@kaiseraluminum.com
   Pasadena, CA 91189-0203

28
      CASTLE METALS
                                            P: 847-349-2597
      PO Box 31001-2507                                                            Trade Debt                                                               $1,052.00
                                            E: WestCredit@amcastle.com
      Pasadena, CA 91110-2507

      BOEING COMMERCIAL AIRPLANE
29
      CO
                                 P: 425-237-3298
      Attn: Antonia N. Stanfill                                                    Trade Debt                                                                 $957.88
                                 E: antonia.n.stanfill@boeing.com
      PO Box 3707
      Seattle, WA 98124-2207

30 MORRELL'S
   Attn: Maria                              P: 310-639-1024
                                                                                   Trade Debt                                                                 $648.00
   432 E Euclid Ave                         E: maria@morrellsplating.com
   Compton, CA 90222




  Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 3
              Case 20-12399-BLS         Doc 1     Filed 09/24/20     Page 10 of 22




     UNANIMOUS WRITTEN CONSENT OF THE BOARDS OF DIRECTORS OF
            IMPRESA HOLDINGS ACQUISITION CORPORATION;
                 IMPRESA ACQUISITION CORPORATION;
              AND IMPRESA ACQUISITION CORPORATION AS
              SOLE MEMBER OF IMPRESA AEROSPACE, LLC;
       AND IMPRESA ACQUISITION CORPORATION AS SOLE MEMBER
                  AND MANAGER OF GOOSE CREEK, LLC

              The undersigned, being all of the members of the boards of directors (each, a
“Board”) of Impresa Holdings Acquisition Corporation (“IHAC”) and Impresa Acquisition
Corporation (“IAC”) for itself and as sole member of Impresa Aerospace, LLC (“Impresa”) and
sole member and manager of Goose Creek, LLC (“Goose Creek,” and with IHAC, IAC and
Impresa, each a “Company” and together, the “Companies”), consent to and adopt the following
resolutions:

                 WHEREAS, the Boards have reviewed and have had the opportunity to ask
questions about the materials presented by the management and the legal and financial advisors of
the Companies regarding the liabilities and liquidity of each Company, the strategic alternatives
available to it and the impact of the foregoing on each Company’s business; and

                WHEREAS, the Boards have had the opportunity to consult with the management
and the legal and financial advisors of each Company to fully consider, and have considered, the
strategic alternatives available to such Company;

                NOW, THEREFORE, BE IT RESOLVED, that, with respect to each Company,
the Boards have determined, after consultation with the management and the legal and financial
advisors of each Company, that it is desirable and in the best interests of each Company and its
stockholders, creditors, and other interested parties that a voluntary petition (each, a “Petition,”
and, together, the “Petitions”) be filed by each Company under the provisions of chapter 11 of title
11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”); and be it further

               RESOLVED, that any officer of each Company (each, an “Authorized Person”),
in each case, acting individually or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, to negotiate, execute, verify, deliver, and file with the
Bankruptcy Court, in the name and on behalf of the applicable Company, and under its corporate
seal or otherwise, all petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders, plans, and other documents (collectively, the “Chapter 11
Filings”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and be it further

                 RESOLVED, that any Authorized Person, in each case, acting individually or
jointly, be, and each hereby is, authorized, empowered, and directed, with full power of delegation,
in the name and on behalf of the applicable Company, to take and perform any and all further acts
and deeds that such Authorized Person deems necessary, appropriate, or desirable in connection
              Case 20-12399-BLS         Doc 1     Filed 09/24/20     Page 11 of 22




with such Company’s chapter 11 case (each, a “Chapter 11 Case,” and, together, the “Chapter 11
Cases”) or the Chapter 11 Filings, including, without limitation, (i) the payment of fees, expenses
and taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating,
executing, delivering, performing and filing any and all additional documents, schedules,
statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with, or in furtherance of, such Company’s Chapter 11 Case
with a view to the successful prosecution of such Chapter 11 Case (such acts to be conclusive
evidence that such Authorized Person deemed the same to meet such standard); and be it further

                RESOLVED, that any Authorized Person, and each of them, acting either
individually or jointly, are hereby authorized, empowered, and directed, in the name and on behalf
of each Company, to retain (i) Morris, Nichols, Arsht & Tunnell LLP, as general bankruptcy
counsel; (ii) Duff & Phelps Securities, LLC, to provide investment banking services; (iii)
Holthouse Carlin & Van Trigt LLP to provide a quality of earnings report and related services;
and (iv) Bankruptcy Management Solutions, Inc. d/b/a Stretto, as claims and noticing agent and
administrative agent, in each case on such terms as any Authorized Person shall deem necessary,
appropriate or desirable and subject to any required approvals of the Bankruptcy Court; and it is
further

                RESOLVED, that, with respect to each Company, any Authorized Person, any one
of whom may act without the joinder of any of the others, hereby is authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the applicable Company, to
take and perform any and all further acts or deeds, including, but not limited to (i) the engagement
or retention of such further accountants, counsel, consultants or advisors; (ii) the negotiation of
such additional agreements, amendments, modifications, supplements, reports, documents,
instruments, applications, notes or certificates not now known but which may be required; (iii) the
execution, delivery and filing (if applicable) of any of the foregoing; and (iv) the payment of all
fees, consent payments, taxes and other expenses; all of the foregoing, as any such Authorized
Person, in his or her sole discretion, may approve or deem necessary, appropriate or desirable in
order to carry out the intent and accomplish the purposes of the foregoing resolutions and the
transactions contemplated thereby, with all of such actions, executions, deliveries, filings and
payments to be conclusive evidence of such approval or that such Authorized Person deemed the
same to meet such standard; and be it further

               RESOLVED, that any and all past actions heretofore taken by any Authorized
Person or any director of any Company in the name and on behalf of such Company in furtherance
of any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and
approved in all respects.




                                                 2
Case 20-12399-BLS   Doc 1   Filed 09/24/20   Page 12 of 22




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             Case 20-12399-BLS          Doc 1   Filed 09/24/20        Page 13 of 22




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                 Case 20-12399-BLS   Doc 1       Filed 09/24/20   Page 14 of 22




                                              directors have      e:recut€d this consent on the
        IN *ITNE*S *IIERE,'F, the undersigned
dates set   forthbelow.




                                                          Steven F. LoYe
Robert B. Webster
                                                          Date:
Date:




PaulL. Mellinger                                          Michael Vinci
Date:                                                     Date:




                                                          Gregg Yorkison
                                                          Date:




Eric Jensen
Date:




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Case 20-12399-BLS   Doc 1       Filed 09/24/20   Page 15 of 22




                            3
Case 20-12399-BLS   Doc 1   Filed 09/24/20   Page 16 of 22




                            3
Case 20-12399-BLS   Doc 1       Filed 09/24/20   Page 17 of 22




                            3
              Case 20-12399-BLS          Doc 1    Filed 09/24/20      Page 18 of 22




 UNANIMOUS WRITTEN CONSENT OF THE RESTRUCTURING COMMITTEE OF
           IMPRESA HOLDINGS ACQUISITION CORPORATION;
                IMPRESA ACQUISITION CORPORATION;
             AND IMPRESA ACQUISITION CORPORATION AS
             SOLE MEMBER OF IMPRESA AEROSPACE, LLC;
      AND IMPRESA ACQUISITION CORPORATION AS SOLE MEMBER
                 AND MANAGER OF GOOSE CREEK, LLC

               The undersigned, being all of the members of the restructuring committee (the
“Restructuring Committee”) of Impresa Holdings Acquisition Corporation (“IHAC”) and Impresa
Acquisition Corporation (“IAC”) for itself and as sole member of Impresa Aerospace, LLC
(“Impresa”) and sole member and manager of Goose Creek, LLC (“Goose Creek,” and with IHAC,
IAC and Impresa, each a “Company” and together, the “Companies”), consent to and adopt the
following resolutions:

                WHEREAS, the Restructuring Committee has reviewed and has had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of the Companies regarding the liabilities and liquidity of each Company, the
strategic alternatives available to it and the impact of the foregoing on each Company’s business;
and

               WHEREAS, the Restructuring Committee has had the opportunity to consult with
the management and the legal and financial advisors of the Companies to fully consider, and has
considered, the strategic alternatives available to the Companies; and

                WHEREAS, the boards of directors of IHAC and IAC for itself and as sole member
of Impresa and sole member and manager of Goose Creek have determined, after consultation with
the management and the legal and financial advisors of each Company, that it is desirable and in
the best interests of each Company and its stockholders, creditors, and other interested parties that
a voluntary petition be filed by each Company under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”);

               NOW, THEREFORE, BE IT RESOLVED, that the Restructuring Committee
has determined, after consultation with the management and the legal and financial advisors, that
subject to approval of the Bankruptcy Court, each Company, as a debtor and debtor in possession
under chapter 11 of the Bankruptcy Code, shall be, and hereby is, authorized to use cash collateral
of the Companies’ prepetition secured lender, Twin Haven Special Opportunities Fund IV, LP
(“Twin Haven”), on the terms as may be approved by any officer of each Company (each, an
“Authorized Person”) as reasonably necessary for the continuing conduct of the affairs of the
Companies, and to grant security interests in and liens upon all or substantially all of the
Companies’ assets as may be deemed necessary by any one or more of the officers in connection
with the use of such cash collateral; and be it further

              RESOLVED, that the Restructuring Committee has determined, after consultation
with the management and the legal and financial advisors of the Companies, that subject to
approval of the Bankruptcy Court, each Company, as a debtor and debtor in possession under
              Case 20-12399-BLS          Doc 1    Filed 09/24/20      Page 19 of 22




chapter 11 of the Bankruptcy Code, shall be, and hereby is, authorized to enter into that certain
Asset Purchase Agreement by and among IHAC, IAC, Impresa Aerospace, LLC, and Goose
Creek, LLC, as sellers, and Twin Haven or its designee(s), as purchaser (the “Stalking Horse
APA”) for the sale of substantially all of the Companies’ assets, subject to higher or otherwise
better offers, as may be further approved, modified, or amended by any Authorized Person, as may
be reasonably necessary or desirable, and the execution and delivery by such Authorized Person
shall be conclusive evidence of such Authorized Person’s approval thereof and the necessity and
desirability thereof, provided that any material modifications or amendments to the Stalking Horse
APA will remain subject to the Restructuring Committee’s approval; and be it further

                RESOLVED, that (a) subject to approval of the Bankruptcy Court, the Authorized
Persons shall be, and each of them, acting alone, hereby is, authorized and empowered in the name
of, and on behalf of, each Company, as a debtor and debtor in possession, to take such actions and
execute, acknowledge, deliver, and verify such agreements, certificates, instruments, and any and
all other documents, including any amendments or other modifications to the foregoing, as any of
the Authorized Persons may deem necessary or appropriate to facilitate the sale contemplated by
the Stalking Horse APA or one or more alternative sale(s) or transaction(s) in respect of the
Companies’ assets that individually, or in the aggregate, represent a higher or otherwise better
transaction (such documents, the “Sale Documents”), provided that any material modifications or
amendments to the Stalking Horse APA will remain subject to the Restructuring Committee’s
approval; (b) subject to approval of the Bankruptcy Court, any and all Sale Documents containing
such provisions, terms, conditions, covenants, warranties, and representations as may be deemed
necessary or desirable by any of the Authorized Persons are hereby approved; and (c) the actions
of any Authorized Person taken pursuant to these joint resolutions, including the execution,
acknowledgment, delivery, and verification of all agreements, certificates, instruments, and other
documents, including any amendments or other modifications to the foregoing, shall be conclusive
evidence of such Authorized Person’s approval thereof and the necessity and desirability thereof;
and be it further

                 RESOLVED, that each Company is authorized and directed, and the Authorized
Persons shall be, and each of them, acting alone, hereby is, authorized and empowered in the name
of, and on behalf of, each Company, as a debtor and debtor in possession, to: (a) authorize counsel
to draft, file, and seek approval of bidding procedures (the “Bidding Procedures”) pursuant to
which the Companies shall seek higher or otherwise better offers for the sale of all or substantially
of their assets; (b) execute, deliver, and file on behalf of the Companies such affidavits or
declarations as such Authorized Person, in his or her opinion, deems necessary or desirable in
connection with obtaining approval of the Bidding Procedures; (c) take any and all such other
actions as such Authorized Person, in his or her opinion, deems necessary or desirable in
connection with obtaining approval of the Bidding Procedures and obtaining the highest or
otherwise best offer for the Companies’ assets, provided that any material modifications or
amendments to the Bidding Procedures relating to Twin Haven, its bid or the Stalking Horse APA
will remain subject to the Restructuring Committee’s approval; and be it further




                                                 2
Case 20-12399-BLS   Doc 1       Filed 09/24/20   Page 20 of 22




                            3
Case 20-12399-BLS   Doc 1       Filed 09/24/20   Page 21 of 22




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                                        Case 20-12399-BLS                              Doc 1              Filed 09/24/20                   Page 22 of 22

  Fill in this in form a tio n to id e n tify th e c a s e a n d th is filin g :

  De btor Na me _
                     _Impre s a__Holdings
                       _______   ________ _Acquis ition_ _Corpora
                                           __________             tion,_ _e_t_al.
                                                          ____________        __ ________________

  Unite d S ta tes Ba nkruptcy Court for the : ______________________ Dis trict of _De la wa re_
                                                                                    ________
                                                                                                      (Sta te )
  Ca s e numbe r (If known):     _________________________




Officia l Form 202
De c la r a t io n U n d e r P e n a lt y o f P e r ju r y fo r N o n -In d iv id u a l De b t o r s                                                                                                     12/15

An in d ivid u a l wh o is a u th o rize d to a c t o n b e h a lf o f a n o n -in d ivid u a l d e b to r, s u c h a s a c o rp o ra tion o r p a rtne rs hip , m u s t s ig n a nd s u b m it
th is fo rm for th e s c he d u le s o f a s s e ts a n d lia b ilitie s , a n y oth e r d o c u m e n t th a t re q u ire s a d e c la ra tio n th a t is n o t in c lu d e d in th e d o c u me n t,
a n d a n y a m e n d men ts o f th o s e d oc u m e n ts . Th is fo rm mu s t s ta te th e in d ivid u a l’s p o s itio n o r re la tio n s h ip to th e d eb to r, th e id e n tity o f th e
d o c u m e nt, a nd th e d a te . Ba n kru p tc y Rule s 1008 a n d 9011.

WARNING -- Ba nkru p tc y fra ud is a s e rio u s c rim e . Ma kin g a fa ls e s ta te m e nt, c o n ce a lin g p ro p e rty, or o b ta in in g m o n e y o r p rop e rty b y fra u d in
c o nn e c tio n with a b a n krup tc y c a s e c a n re s ult in fin e s u p to $500,000 o r imp ris o n m e n t fo r u p to 20 ye a rs , o r b o th . 18 U.S .C. §§ 152, 1341,
1519, a n d 3571.



               De c la r a t io n a n d s ig n a t u r e



            I a m the pre s ide nt, a nothe r office r, or a n a uthorize d a ge nt of the corpora tion; a me mbe r or a n a uthorize d a ge nt of the pa rtne rs hip; or
            a nothe r individua l s e rving a s a re pre s e nta tive of the de btor in this ca s e .
            I ha ve e xa mine d the informa tion in the docume nts che cke d be low a nd I ha ve a re a s ona ble be lie f tha t the informa tion is true a nd corre ct:


                   Sche dule A/B: As s e ts –Re a l a nd P e rs ona l P rope rty (Officia l Form 206A/B)

                   Sche dule D: Cre ditors Who Ha ve Cla ims Se cure d by P rope rty (Officia l Form 206D)

                   Sche dule E/F: Cre ditors Who Ha ve Uns e cure d Cla ims (Officia l Form 206E/F)

                   Sche dule G: Exe cutory Contra cts a nd Une xpire d Le a s e s (Officia l Form 206G)

                   Sche dule H: Code btors (Officia l Form 206H)

                   Summa ry of As s e ts a nd Lia bilitie s for Non-Individua ls (Officia l Form 206Sum)

                   Ame nde d Sche dule ____


                   Cha pte r 11 or Cha pte r 9 Ca s e s : Consolidated Lis t of Cre ditors Who Ha ve the La rge s t Uns e cure d Cla ims a nd Are Not Ins ide rs (Officia l Form
                   204)
                   Othe r docume nt tha t re quire s a de cla ra tion Consolidated Corporate Ownership Statement and List of Equity Security Holders




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                                                                                       Steven F. Loye
                                                                                     P rinted na me

                                                                                        Chief Executive Officer
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Officia l Form 202                                       De c la ra tio n Un d e r P e n a lty o f Pe rju ry fo r No n -In d ivid u a l De bto rs
